                Case:
ILND 450 (Rev. 10/13)    1:16-cv-03348
                      Judgment in a Civil Action Document #: 39 Filed: 03/30/17 Page 1 of 1 PageID #:132


                                IN THE UNITED STATES DISTRICT COURT
                                              FOR THE
                                   NORTHERN DISTRICT OF ILLINOIS

Steven F. Wolff,

Plaintiff(s),
                                                           Case No. 16 C 3348
v.                                                         Judge Matthew F. Kennelly

Seedays (Illinois) LLC and Dmitry Isaev,
individually and in his capacities as an employer as
defined under Illinois Law and FLSA,

Defendant(s).
                                        JUDGMENT IN A CIVIL CASE

Judgment is hereby entered (check appropriate box):

                in favor of plaintiff(s)
                and against defendant(s)
                in the amount of $       ,

                        which      includes       pre–judgment interest.
                                   does not include pre–judgment interest.

        Post-judgment interest accrues on that amount at the rate provided by law from the date of this judgment.

        Plaintiff(s) shall recover costs from defendant(s).


                in favor of defendant(s)
                and against plaintiff(s)
.
        Defendant(s) shall recover costs from plaintiff(s).


               other: Judgement entered against defendants Seedays (Illinois) LLC and Dmitry Isaev,
individually and in his capacities as an employer as defined under Illinois Law and FLSA, jointly and severally
in the amount of $92,241.74.

This action was (check one):

     tried by a jury with Judge     presiding, and the jury has rendered a verdict.
     tried by Judge     without a jury and the above decision was reached.
     decided by Judge Matthew F. Kennelly.


Date: 3/30/2017                                        Thomas G. Bruton, Clerk of Court

                                                       Pamela J. Geringer, Deputy Clerk
